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               EXHIBIT

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Hamilton Law, hlu
               Case 1:21-cv-00758-PJG ECF No. 1-1, PageID.5 Filed 08/30/21 Page 2 of 20
1803 Whites RcL Ste. 5
Kalamazoo, Ml 49008

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                                        .    Kalamazoo County Jail. Sheriff Richard Fulle|
                                                                                   Quini ey,
                                            Deputy Downy, Sergeant Herrick, Nurse
                                                                                          I
                                                  Sergeant Shriner. Sergeant Doorlag
                                                           1500 Lamoht Ave
                                                         Kalamazoo, MI 49048
             Case 1:21-cv-00758-PJG ECF No. 1-1, PageID.6 Filed 08/30/21 Page 3 of 20


                                                                                                                                       Philip E. Hamilton, Esq.
:   I          Hamilton Law, plc                                                                                                      Attorney & Counselor at Law
                                                                                                                                                      D: 269.488.8396
               Estate Planning and Business                                                                                                           M: 269.336.5528
         :



                                                                                                                                      E: phil@hamiltonla\volc.coni




                                                                   August 5, 2021


        Sent Via U.S. Certified Mail:

        Kalamazoo County Jail                                                                               Sheriff Richard Fuller
        1500 Lamont Ave                                                                                      1500 Lamont Ave
        Kalamazoo, MI 49048                                                                                  Kalamazoo, MI 49048


        Deputy Downy                                                                                         Sergeant Herrick
         1500 Lamont Ave                                                                                     1500 Lamont Ave
        Kalamazoo, MI 49048                                                                                 Kalamazoo, MI 49048


        Nurse Quinley                                                                                        Sergeant Shriner
        1500 Lamont Ave                                                                                      1500 Lamont Ave
        Kalamazoo, MI 49048                                                                                  Kalamazoo, MI 49048


        Sergeant Doorlag
        1500 Lamont Ave
        Kalamazoo, MI 49048


                 Re:        Carouthers v. Kalamazoo County Jail, Sheriff Richard Fuller, Deputy Downy,
                            Sergeant Herrick, Nurse Quinley, Sergeant Shriner, Sergeant Doorlag
                            Case No.: 2021-0286-NO


        Dear Sir/Madam:


        Please find enclosed a Summons, Complaint and Jury Demand for the above reference matter. Please
        acknowledge service on the second page of the Summons and return it to my office at your earliest
        convenience. If you have any question, please contact my office at 269.488.8394.


        Sincerely,


                     £ <&urtc/}bur


        Philip E. Hamilton
        Attorney & Counselor at Law



        Enclosures
        Cc:    Tony Carothers




                 Hamilton Law, PLC • 1803 Whites Rd, Stc 5 • Kalamazoo, Ml 49008 • P: 269.488.8394                          F: 269.488.8394
                                                               www.HamiltonLavvPLC.com

              This document may he confidential, protected by the attorney-client privilege, subject to the work-product doctrine, federal or state
              rules of evidence regarding offers to compromise or settle and 'or various other rules, law or doctrines hairing unlawful disclosure.
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    I




                                                                       Original - Court                                           2nd copy - Plaintiff
  Approved, SCAO                                                       1st copy - Defendant                                       3rd copy - Return

         STATE OF MICHIGAN                                                                                                           CASE NO.
                          JUDICIAL DISTRICT
9th                           JUDICIAL CIRCUIT
                                                                              SUMMONS                              2021-                     -NO

                          COUNTY PROBATE

Court address                                                                                                                                  Court telephone no.
 150 East Crosstown Parkway, Kalamazoo, MI49001                                                                                                269.383.8837

Plaintiff's name(s), address(es), and telephone no(s).                                      Defendant's name(s), address(es), and telephone no(s).

TONY CAROUTHERS                                                                             KALAMAZOO COUNTY JAIL, SHERIFF RICHARD
                                                                                            FULLER, DEPUTY DOWNY, SERGEANT HERRICK,
                                                                                 v
                                                                                            NURSE QUINLEY, SERGEANT SHR1NER, SERGEANT
                                                                                            DOORLAG


Plaintiff's attorney, bar no., address, and telephone no.                                   1500 Lamont Ave
                                                                                            Kalamazoo, MI 49048
Philip E. Hamilton (P68814)
Hamilton-Law, PLC
                                                                                            (269)383-8821                                  file
1803 Whites Rd, Ste 5                                                                                                                  r
                                                                                                                                       i
Kalamazoo, MI 49008                                                                                                                    I JUL 1 2 2021
(269) 488-8394 1 phil@hamiltonlawplc.com
                          :                                               1             1                                     1                                '
Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court c erk al$$|With ymjFvCyppJg^ nd,
if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.               1

Domestic Relations Case
   There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
   family members of the person(s) who are the subject of the complaint.
   There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint. I have separately filed a completed
   confidential case inventory (form MC 21) listing those cases.
   It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
   the family or family members of the person(s) who are the subject of the complaint.

Civil Case
   This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
   MDHHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of
   the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400. 106(4).
0 There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
   complaint.
   A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

   been previously filed in             this court,                                                                                                   Court, where

   it was given case number                                               and assigned to Judge

   The action          remains          is no longer        pending.

Summons section completed by court clerk.                                 SUMMONS

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
   serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were
   served outside this state).
3. if you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
   demanded in the complaint.
4. If you require special accommodations to use the court because of a disability or if you require ^foreign language interpreter
   to help you fully participate in court proceedings, please contact the-coutf iprrua^iately to make arrangements.



•This summons is invalid unless served on or before its expiration date. This document must be seared-by the seal of the court.

Mcoi    (9/19)   SUMMONS                                                                      MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
  Case 1:21-cv-00758-PJG ECF No. 1-1, PageID.8 Filed 08/30/21 Page 5 of 20




                                       STATE OF MICHIGAN
               IN THE 9™ CIRCUIT COURT FOR THE COUNTY OF KALAMAZOO


 TONY CAROUTHERS,


          Plaintiff,
                                                               Case No. 2021-                 -NO
 v.                                                            Judge ALEXANDER C.LIPSEY

 KALAMAZOO COUNTY JAIL,
SHERIFF RICHARD FULLER,
DEPUTY DOWNY, SERGEANT HERRICK,
NURSE QUINLEY, SERGEANT SHRINER,
SERGEANT DOORLAG, all in their official capacities,
Jointly and Severally,


          Defendants.



Philip E. Hamilton (P68814)
Hamilton Law, PLC
1803 Whites Rd, Ste 5
Kalamazoo, MI 49008
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F: 269.488.8398
Dhil@hamiltonlawplc.com
Attorneysfor Plaintiff


                               COMPLAINT AND JURY DEMAND

      Plaintiff, Tony Carouthers ("Plaintiff' or "Mr. Carouthers"), by and through his attorneys,


Hamilton Law, PLC, and for his Complaint allege as follows:


                                            Introduction


          1.      This is an action for money damages for negligence and the violations of the

constitutional rights of Plaintiff Tony Carouthers by Kalamazoo County Jail, Kalamazoo County

Sheriff Richard Fuller, various correctional officers/personnel employed at the Kalamazoo County


Jail, pursuant to 42 USC § 1983. Said correctional officers/personnel, acting at all times under the
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color of law, demonstrated deliberate indifference to the serious medical needs of Tony


Carouthers, in violation of his rights under the Eighth and Fourteenth Amendments of the United


States Constitution. During Plaintiffs incarceration he continuously demanded, and was


repeatedly refused, medical and dental treatment. For days, Plaintiff needlessly suffered through

excruciating pain and suffering while being refused reasonable medical and dental care, ultimately


causing him to have emergency surgery. Plaintiff, by and through this lawsuit, seeks to right a


wrong and bring justice to a constitutionally injustice practice.



                                  Parties. Jurisdiction & Venue

       2.      Plaintiff Tony Carouthers is an individual residing in Kalamazoo County,


Michigan.

       3.      Defendant Kalamazoo County Jail is a county organized and operating under the


laws of the State of Michigan.


       4.      On information and belief, Defendant Sheriff Richard Fuller was the Kalamazoo


Sheriff for Kalamazoo County Jail from September 9, 2018, to September 28, 2018.

       5.      On information and belief, Defendant Deputy Downey was employed as a deputy

by the Kalamazoo County Jail from September 9, 2018, to September 28, 2018.


       6.      On information and belief, Defendant Sergeant Herrick was employed as a sergeant


at the Kalamazoo County Jail from September 9, 2018, to September 28, 2018.


       7.      On information and belief, Defendant Nurse Quinley was employed by the

Kalamazoo County Jail as a nurse on or about September 9, 2018, to September 28, 2018.

       8.      On information and belief, Defendant Sergeant Doorlag was employed at the


Kalamazoo County Jail as a Sergeant on or about September 9, 2018, to September 28, 2018.




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        9.      On information and belief, Defendant Sergeant Shriner was employed at the

Kalamazoo County Jail as a sergeant on or about September 9, 201 8, to September 28, 201 8.

        1 0.    Jurisdiction and venue are proper in this court as Defendants operate in Kalamazoo

County, Michigan and this matter involves claims over $25,000, exclusive of attorneys' fees, costs

and expenses.



                                       General Allegations


        11.     Plaintiff hereby incorporates by reference all preceding paragraphs as though fully

set forth herein.

        12.     On or about the evening of September 9, 2018, Mr. Carouthers was an inmate at

Kalamazoo County Jail where he began experiencing severe gum pain in his front teeth and

swelling in his mouth.

        13.     When Deputy Downey came to cell 215 to collect Mr. Carouthers orange jumpsuit,

Mr. Carouthers informed Deputy Downey of his tooth pain to which Deputy Downey responded,

"there is nothing I can do because there is no nurse."


        14.     Mr. Carouthers reiterated to Deputy Downey that this pain was so severe that he

needed to see a doctor. Mr. Carouthers then proceeded to push the panic button in his cell.

        15.     Deputy Downey told the Kalamazoo County Jail employees in the Tower to

disregard the panic button call from cell 215 because Deputy Downey already told Mr. Carouthers

that there was nothing Deputy Downey could do about Mr. Carouthers' tooth pain.

        16.     Deputy Downey left Mr. Carouthers' cell. Immediately after Deputy Downey left,

Mr. Carouthers pushed the panic button in his cell. Usually when pushed, the panic button makes

a sound and someone from the Tower responds, however, when Mr. Carouthers pushed the panic

button this time, the button was silent and no one from the Tower ever responded.




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        17.     That night, Mr. Carouthers continued to push the panic button in his cell, but no

 one ever responded to his call. Upon information and belief, Deputy Downy instructed the tower,

 where the panic buttons are controlled, to turn off the panic button in Mr. Carouthers' cell so that


 there would be no way for Mr. Carouthers to inform Defendants of his medical condition.


        18.     The next morning Mr. Carouthers woke up with excruciating mouth pain. As the

Kalamazoo County Jail was serving breakfast, Mr. Carouthers headed towards the cafeteria and

noticed another panic button in the dayroom walkway. He pushed the panic button. This panic

button made a sound and someone from the Tower asked what the emergency was. Mr. Carouthers


said that he needed immediate medical attention because his mouth was swelling causing severe

pain. He requested to speak to a Sergeant.

        1 9.   The individual employees of Kalamazoo County Jail in the Tower responded to Mr.

Carouthers that the sergeant on duty that night, Sergeant Herrick, was already aware of Mr.


Carouthers' complaints.


        20.    After breakfast that day, personnel at the Kalamazoo County Jail finally allowed

Mr. Carouthers to see a nurse.

       21.     Nurse Quinley briefly examined Mr. Carouthers' mouth and swollen lips. She noted


the inside of his mouth and lips looked irritated and placed Mr. Carouthers on a ten-day protocol

consisting of administering Bactrim on his upper gums and teeth.


       22.     Shortly after receiving the Bactrim, and all through part of the next night, Mr.

Carouthers' lip swelled up as if he were having an allergic reaction to the Bactrim.


       23.     By the next morning, Mr. Carouthers lips and gums were still swollen, and he still

had pain in his gums; however, the swelling had subsided a bit.




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        24.     That day, Mr. Carouthers saw Nurse Quinley again. He told her that he believed he

 was allergic to the Bactrim because after receiving the Bactrim the previous day, his lip swelled

 up even more and he continued to have severe gum pain.


        25.     Nurse Quinley simply replied that Mr. Carouthers needed to allow time for the


Bactrim to get into his system and work.

        26.    Over the next few days Mr. Carouthers continued to suffer from mouth pain and


swelling in his gums. The pain and swelling were so bad that he could not eat solid foods. He was

forced to survive off oatmeal.


        27.    Every time a nurse would see Mr. Carouthers, they would give him Bactrim, despite

Mr. Carouthers repeated complaints that the Bactrim was not working to soothe his pain or reduce


the swelling but rather further irritating his mouth and gums.

        28.    Mr. Carouthers continued to suffer in pain for several days. The condition of his


gums only worsened.


       29.     Each time a deputy would make their observation rounds and come to his cell, he

would complain to the deputy that he was in severe pain and his lips were swollen. He would


request to see the Sergeant on duty; however, the deputies would only respond to Mr. Carouthers'

pleas by saying that there was no nurse available to see him or that the Sergeant was already aware


of his medical condition.


       30.     On or about September 24, 2018, Mr. Carouthers was again in excruciating pain.

He began banging on the window of his cell.

       31.     Deputy Mitchell came to Mr. Carouthers' cell and asked him why he was banging

on the windows. Mr. Carouthers replied that he was in severe pain and desperately needed medical


attention. He again requested a Sergeant.




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        32.    Deputy Mitchell summoned Sergeant Herrick. When Sergeant Herrick arrived at

Mr. Carouthers cell, she was horrified to see the condition of Mr. Carouthers' face. Sergeant

Herrick uttered something to the effect of "oh my God Tony look at your face."


        33.    Mr. Carouthers repeated to Sergeant Herrick that he has been trying for the last


week to see a Sergeant so the Sergeant could send him to a doctor.


        34.    Sergeant Herrick proceeded to take Mr. Carouthers to the Medical Unit. She gave


him two Benadryl, even though she is not a medical professional, and she is not qualified to


dispense medications to inmates.

        35.    On or about September 24, 2018, Mr, Carouthers was finally admitted to the


Medical Unit of Kalamazoo County Jail. He stayed there for two days.

        36.    During those two days, the medical staff, including but not limited to Nurse

Quinley, continued to give Mr. Carouthers Bactrim. Mr. Carouthers told medical staff that the

Bactrim was not working.


       37.     The medical staff was supposed to tend to Mr. Carouthers' medical emergency;

however, they simply ignored Mr. Carouthers and his complaints. Each time he saw a nurse pass

by his room in the medical unit he would knock on the window to get their attention, but they

would walk past his room and ignore his pleas for help.


       38.     On or about September 26, 2018, Nurse Arthur evaluated Mr. Carouthers and finds


that Mr. Carouthers has a high blood pressure, a fever, and sunken in eyes. Nurse Arthur reported

these findings to other employees at the Kalamazoo County Jail and approximately 15 minutes

later Mr. Carouthers is informed that he will be transported to a nearby hospital for treatment.

       39.     Deputy Demperial arrived at the medical unit and transported Mr. Carouthers to

Bronson Hospital.




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        40.     Bronson Hospital admitted Mr. Carouthers and diagnosed him with a maxillary

dental abscess that failed antibiotic therapy.


        41.     Mr. Carouthers underwent oral surgery consisting of draining the mouth abscess

and removing Mr. Carouthers* eighth and ninth teeth.


        42.     On or about September 28, 2018, Bronson Hospital discharged Mr. Carouthers in

stable condition with instructions to take clindamycin.


        43      Mr. Carouthers is protected under the Due Process Clause of the Fourteenth

Amendment United State Constitution.


        44.     Mr. Carouthers is protected under the Eighth Amendment of the United States


Constitution.


        45.     Defendants' actions were the result of deliberate indifference towards Mr.


Carouthers' medical condition and constituted violations of Mr. Carouthers' constitutional rights.

                                  Exhaustion of Legal Remedies


        46.     Mr. Carouthers exhausted all administrative remedies by following the prisoner


grievance procedures at Kalamazoo County Jail. On September 9, 2018, September 14, 2018, and


October 12, 2018, Mr. Carouthers filed grievances against Deputy Downey and Sergeant Herrick


regarding the lack of medical care provided to Mr. Carouthers. Sergeant Herrick and Lieutenant

Bishop denied Mr. Carouthers' grievances. The grievances, responses and medical requests related

to this matter are attached as Exhibit A.


Count I - Deprivation of Adequate Medical Care in Violation of the Fourteenth and Eighth
                    Amendments (42 USC § 1983) Against Individual Defendants


        47.     Plaintiff hereby incorporates by reference all preceding paragraphs as though fully

set forth herein.




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        48.        Defendants failed to provide adequate medical care in violation of Plaintiffs

Fourteenth and Eighth Amendment Constitutional rights.


        49.        Defendants owed a duty to Mr. Carouthers, as a detainee of the Kalamazoo County

Jail, to provide him with appropriate and reasonable medical care upon being informed of Mr.

Carouthers' medical complaints, including but not limited to:


              a.   Proper monitoring of Mr. Carouthers' health and physical condition;

              b. Regularly examining to examining Plaintiff for signs and symptoms of medical


                   illness or disease after he had made complaints regarding such;

              c.   Detecting signs and symptoms of Plaintiff s serious health condition and


                   providing timely intervention of the same.



       50.         Mr. Carouthers had a serious medical need - massive lip swelling, severe gum pain,


and an abscess in his mouth.


       51.         Mr. Carouthers repeatedly informed Defendants of his medical condition.


       52.         Despite Defendants' knowledge of the ongoing suffering of the Plaintiff, they

refused to take reasonable steps to provide for Plaintiff safety and provide medical attention, at

variance with constitutional standards as follows:

              a.   Failing to take heed of the seriousness of Plaintiff s complained of condition

                   when they were aware that the Plaintiff was suffering from a serious medical

                   condition, in this case massive lip swelling, severe gum pain, and a mouth


                   abscess.

             b. Failing to have Plaintiff evaluated by a medical professional within a reasonable

                   time of registering complaints of his condition while in the custody of Defendants

                   when he was suffering from a potentially fatal medical condition.




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         53.        Defendants knew or should have known that that Mr. Carouthers faced a substantial

risk of serious harm if his medical needs went untreated. As such, Defendants exhibited deliberate


 indifference towards Mr. Carouthers' medical needs by not taking reasonable steps to treat Mr.

Carouthers' medical needs and consciously disregarding Mr. Carouthers' medical emergency.


        54.         At all pertinent times, Defendants acted, or purporting to act, in the performance of

their official duties.


        55.     As a result of Defendants deliberate indifference and failure to render adequate


medical care, Mr. Carouthers needlessly suffered significant injury and the unnecessary and


pointless infliction of pain in violation of his constitutional rights.


        56.     Defendants' conduct was a substantial factor in causing the needless exacerbation

of Mr. Carouthers' medical condition.


        WHEREFORE, Plaintiff requests judgment against Defendants, jointly and severally, in


whatever amount Plaintiff is found to be entitled, as determined by the trier of fact, together with

punitive damages, costs, interests, attorney fees, including but not limited to such attorney fees as


are allowable under 42 USC § 1988.



       Count II - Deprivation of Necessities in Violation of the Fourteenth and Eighth
                Amendments (42 U.S.C, § 1983) Against Individual Defendants

        57.     Plaintiff hereby incorporates by reference all preceding paragraphs as though fully

set forth herein.


        58.     Defendants subjected Mr. Carouthers to prison conditions that deprived him of


basic rights - the right to medical care.


        59.     Mr. Carouthers was imprisoned under conditions that deprived him of adequate


and basic medical care. This deprivation was sufficiently serious in that it denied Mr. Carouthers

a minimal necessity of life.



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          60.       Defendants' conduct created a substantial risk of serious harm to Mr. Carouthers'


health and safety in violation of Mr. Carouthers' constitutional rights under the Eighth and

Fourteenth Amendment.


          61.    Defendants knew that their conduct created a substantial risk of serious harm to Mr.


Carouthers' health and safety; yet, consciously disregarded such risk and harm to Mr. Carouthers.

          62.    There was no reasonable justification for the deprivation.


          63.    Defendants were acting or purporting to act in the performance of their official

duties.


          64.       Mr. Carouthers was harmed in that he needlessly suffered from massive lip

swelling, severe gum pain, and an abscess in his mouth. As such, Defendants' conduct was a


substantial factor in causing Mr. Carouthers harm.


          WHEREFORE, Plaintiff requests judgment against Defendants, jointly and severally, in


whatever amount Plaintiff is found to be entitled, as determined by the trier of fact, together with

punitive damages, costs, interests, attorney fees, including but not limited to such attorney fees as

are allowable under 42 USC § 1988.


    Count III - Violations of Plaintiffs Constitutional Rights Under 42 USC § 1983 Against
           Defendants Kalamazoo County and Kalamazoo County Sheriff Richard Fuller

          65.   Plaintiff hereby incorporates by reference all preceding paragraphs as though fully


set forth herein.

          66.   Defendants' duties to Mr. Carouthers, include the duty to provide reasonable and


adequate medical attention in a reasonable time after Mr. Carouthers originally complained about


his medical problem. In addition, these duties include the duty to implement and monitor any

adequate hiring and training program for all officers/personnel working at the Kalamazoo County


Jail to properly respond to medical emergencies and complaints.



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        67.     Defendants failed in these duties to adequately train Kalamazoo County Jail

personnel to properly respond to medical complaints and Defendants historically have had a

policy, custom, and practice of failing to implement an adequate training program to properly train

Kalamazoo County Jail personnel.


        68.     Defendants adopted, ratified and/or implemented the policies, practices and

procedures which denied Mr. Carouthers medical treatment within reasonable time and did so with


deliberate indifference to Mr. Carouthers'        serious medical needs thereby violating his

constitutional rights.


        69.     The acts and omissions of Defendants were all committed under the color of law

and under the color of their official authority as a County, County Department, and employees of


such.


        70.    The acts and omissions in failing to implement an adequate training program to

properly train Kalamazoo County Jail personnel resulted in Defendants adoption and ratification


of a historical policy, custom, and practice of denying residents of the Kalamazoo County Jail,

such as Mr. Carouthers, adequate medical care which constituted deliberate indifference and was

the moving force behind Defendants violation of Mr. Carouthers' civil rights guaranteed by the


Constitution, and thus actionable under 42 USC § 1983.



        WHEREFORE, Plaintiff requests judgment against Defendants, jointly and severally, in


whatever amount Plaintiff is found to be entitled, as determined by the trier of fact, together with

punitive damages, costs, interests, attorney fees, including but not limited to such attorney fees as


are allowable under 42 USC § 1988.




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                                       Count IV - Negligence



         71.     Plaintiff hereby incorporates by reference all preceding paragraphs as though fully

set forth herein.


         72.     At all relevant times, Plaintiff, as an incarcerated individual, was under the care,

custody and control of Defendants.


        73.      Defendants owed Plaintiff a duty to use reasonable care with regard to Plaintiffs

medical and dental care needs while under Defendants' care, custody and control.


        74.      By failing to properly, efficiently and reasonably expeditiously attend to Plaintiffs


medical and dental care needs, all the while Plaintiff expressing to Defendants the excruciating

pain he was in, Defendants breached their duty to Plaintiff to use reasonable care with regard to

Plaintiffs medical and dental care needs while under Defendants' care, custody and control.


        75.      Defendant's breach of duty was a proximate cause of Plaintiff s damages.


        76.      Plaintiff was damaged and injured as a result of Defendants' negligence.


        WHEREFORE, Plaintiff requests judgment against Defendants, jointly and severally, in

whatever amount Plaintiff is found to be entitled, as determined by the trier of fact, together with


punitive damages, costs, interests, attorney fees, including but not limited to such attorney fees as


are allowable.



                                               Respectfully submitted,

                                               Hamilton Law, PLC

                                               /s/ Philip E. Hamilton
Date:   July 8, 2021
                                               Philip E. Hamilton (P68814)
                                               Attorneys for Plaintiff




                                                  12
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  EXHIBIT A
                          Case 1:21-cv-00758-PJG ECF No. 1-1, PageID.21 Filed 08/30/21 Page 18 of 20
                                                                                                                                                                 •. . S.lSsi




                                                                         Kalamazoo County Jail
                                                                        Resident Grievance Form

                                                                         y
                                                                               w n8&W                              Cell:


 '.                 -             Name:
                                  Statement of (Grievance (detail alf facts: who, what, when, where, all witnesses):
~Th&                               Tyr Tkss Gn^Vc^ce- *5 8&c&u.ta , t^-p'-AVy                                          fXi I        c^° fys Afe fts •'*,
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                                                                                              Kalamazoo County Jail                                                                                                                                          AV
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                                                                                                                    Resident Grievance Form

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